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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                         Case No. 08-cr-30-PB

Danielle Rhodes, et al.



                                  O R D E R

     The defendant, through counsel, has moved to continue the

trial scheduled for July 8, 2008, citing the need for additional

time to complete a psychiatric evaluation and prepare a defense.

The government does not object to a continuance of the trial

date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from July 8, 2008 to October 7, 2008.                In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The June 26, 2008 final pretrial conference is continued to

September 23, 2008 at 3:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge
June 18, 2008

cc:   James Gleason, Esq.
      Richard Monteith, Jr.
      Lawrence Vogelman, Esq.
      Mark Machera, Esq.
      Neil Faigel, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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